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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS



  DARELTECH, LLC,

         Plaintiff,

         v.                                                 Civil Action No. 4:18-cv-00702

  SAMSUNG ELECTRONICS CO., LTD. AND                         JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS AMERICA, INC.

         Defendants.




      DEFENDANTS’ NOTICE OF COMPLIANCE WITH ORDER APPOINTING
                        TECHNICAL ADVISOR

       Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(together “Samsung”) hereby provide notice of their compliance with the Order Appointing

Technical Advisor (Dkt. 41). In particular, Samsung has provided Mr. Woloson copies of its

Responsive Claim Construction Brief (Dkt. 39) and associated exhibits by: (1) pdf (to

scott@scottwolosonlaw.com); and (2) in paper form by overnight delivery to the Law Office of

Scott Woloson, P.C., 1431 Wirt Road #141, Houston, TX 77055.



Dated: December 17, 2019                     /s/ Jin-Suk Park
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                                   and Samsung Electronics America, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2019, I electronically filed the foregoing

Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America Inc.’s Notice of

Compliance with the Clerk of the Court for the Eastern District of Texas using the ECF System

which will send notification to the registered participants of the ECF System as listed on the

Court’s Notice of Electronic Filing.


                                             /s/ Jin-Suk Park
                                             Jin-Suk Park




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